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                  CERTIFICATE OF FILING AND SERVICE

I hereby certify that on 10.14.21, an electronic copy of the foregoing Notice of Filing, and
Attached Third Amended Complaint in Gomez v Braid, 21 CI 19920 was filed with the Clerk
of Court for the United States District Court N.D. Illinois, by the CM/ECF system, and all
appearing parties were served with notice hereof thereby.

Respectfully submitted on 10.15.21




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                             ATTACHMENT

                      Current Complaint in 21CI19920




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Mary Angie Garcia
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Associated Case Party: FelipeNGomez

Name            BarNumber   Email                  TimestampSubmitted     Status

Felipe NGomez               fgomez9592@gmail.com   10/9/2021 7:16:40 AM   SENT
